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                                                                                   FILED
                        IN THE UNITED STATES DISTRICT COURT
                                                                                 MAY 312022
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

 VARDA BURSTE[N AND SIMILARLY                                                          !.
 SITUATED DIGITAL SECURITY                        §
 HOLDERS,                                         §
               PLAINTIFFS,                        §
                                                  §   CAUSE NO. 1:21-CV-793-LY
 V.                                               §
                                                  §
 AUTOLOTTO, INC. AND TONY                         §
 DIMATTEO,
               DEFENDANTS.

                                     FINAL JUDGMENT

       Before the court is the above entitled cause of action. On this date, the court granted

Defendants' motion to dismiss. Accordingly, the court renders the following Final Judgment

pursuant to Federal Rule of Civil Procedure 58.

       IT IS HEREBY ORDERED that the case is CLOSED.

       SIGNED this                     day of May, 2022.




                                                  ITED STAT S DIST    CT JUDGE
